1/9/22, 8:13 PM       Case 1:21-cv-11150-ALC Gmail
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                                                   - Important -9-35     Filed 01/11/22
                                                                 Video Conference Hearing SchedulePage 1 of 1



                                                                                                Elisa Hyman <elisahyman@gmail.com>



  Important - Video Conference Hearing Schedule
  DoNotReply_ImpartialHearings@schools.nyc.gov                                                                    Mon, Dec 13, 2021 at 8:59
  <DoNotReply_ImpartialHearings@schools.nyc.gov>                                                                                        AM
  To: ehyman@specialedlawyer.com

    Dear Parents, Parent Attorneys and Representatives, and District Representatives,

    The New York City Department of Education is now required by Regulations of the Commissioner of Education to provide
    videoconference capability for impartial hearings. To that end, we are implementing a new remote system on Monday,
    December 20, 2021. From December 20, 2021 on, the current telephonic dial-in platform will no longer exist. Instead,
    parents, their representatives and the district will have two options to connect to hearings.

    Option #1 (with video capability, however camera may be turned off):
    From your computer or your phone, connect to the internet and go to the following link:
    https://tabula.escribers.net/welcome/guestlogin?CaseReference=
    Type in your name and case number, select your role and enter ‘join’. (See ‘Videoconference Login Screen’ attached
    above.)
    Note:
    The latest version of Chrome or Firefox is recommended for best performance.
    You will have the option to turn off your camera before you join and while you are in the hearing.

    Option #2 (audio only):
    From December 20, 2021 on, you may connect to the hearing telephonically by dialing the number below and following
    the prompts:
    (929) 297‐8424

    Whether you join a hearing through the link (option 1) or the phone number (option 2), you will be muted until the court
    reporter joins.
    Please review the guidelines and instruction manual attached above. If you have any issues at hearing, please contact the
    case coordinator.


    Thank you,
    The Impartial Hearing Office


    Confidentiality Notice: This e-mail communication and any attachments
    may contain confidential and privileged information for the use of the
    designated recipients named above. If you are not the intended
    recipient, you are hereby notified that you have received this
    communication in error and that any review, disclosure, dissemination,
    distribution or copying of it or its contents is prohibited. If you have
    received this communication in error, please notify this office
    immediately by replying to this message and deleting it from your
    computer. Thank you.

     2 attachments
          VideoconferenceLoginScreen.pdf
          229K
          RemoteConferencingSystemGuidelinesforIHO_August2021.pdf
          590K




                                                                                                       Hyman Decl. Ex. II- 1
https://mail.google.com/mail/u/0/?ik=3577efa48e&view=pt&search=all&permmsgid=msg-f%3A1719039632252596332&simpl=msg-f%3A1719039632252596332   1/1
